                     UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF NORTH CAROLINA
                           WESTERN DIVISION

SUSAN JANE HOGARTH,

                      Plaintiff,                 Case No.: 5:24-cv-00481-LF
       v.
                                                  Hon. Louise W. Flanagan
KAREN BRINSON BELL, et al.,
                                             PLAINTIFF’S [UNOPPOSED]
                      Defendants.           MOTION FOR ATTORNEY JAMES
                                            M. DIAZ TO APPEAR VIA VIDEO
                                                  TELECONFERENCE

      In accordance with Local Rule 83.10, Plaintiff Susan Hogarth requests leave

of this Court for her attorney James M. Diaz to appear via video teleconferencing at

the preliminary injunction hearing scheduled for October 7, 2024 at 1:30 PM. This

motion is unopposed.

      Attorney Diaz is unable to attend in person and does not plan to present

argument to the Court during the hearing. Attorney Jeffrey Zeman will present

argument in person at the hearing, and other attorneys representing Plaintiff

Hogarth, Jim Dedman and Daniel Ortner, will also appear in person at the hearing.

      Allowing Attorney Diaz to attend via video teleconferencing will benefit

Plaintiff Hogarth by allowing Attorney Diaz to observe the hearing and appropriately

confer with co-counsel and Plaintiff Hogarth about the hearing in real time and will

not prejudice any party. Plaintiff Hogarth asks the Court to grant her unopposed

motion.




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     Respectfully submitted,


/s/ James M. Dedman IV               /s/ Jeffrey D. Zeman
JAMES M. DEDMAN IV                   JEFFREY D. ZEMAN*
   (NC Bar # 37415)                      (Pa. Bar No. 328570)
GALLIVAN WHITE & BOYD P.A.           DANIEL M. ORTNER*
6805 Carnegie Blvd, Ste. 200             (Ca. Bar No. 329866)
Charlotte, NC, 28211                 JAMES M. DIAZ*
(704)-552-1712                           (Vt. Bar. No. 5014)
jdedman@gwblawfirm.com               FOUNDATION FOR INDIVIDUAL
                                         RIGHTS AND EXPRESSION
ERIC SPENGLER                        510 Walnut St., Ste. 900
   (NC Bar # 47165)                  Philadelphia, PA 19106
SPENGLER + AGANS PLLC                (215) 717-3473
352 N. Caswell Rd.                   jeff.zeman@thefire.org
Charlotte, NC 28204                  daniel.ortner@thefire.org
(704) 999-8733                       jay.diaz@thefire.org
eric@sab.law                         *Special Appearance pursuant to Local
                                     Rule 83.1(e)




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                            CERTIFICATE OF SERVICE

      I hereby certify that on October 2, 2024, a true and correct copy of the foregoing

document was transmitted via using the CM/ECF system, which automatically sends

notice and a copy of the filing to all counsel of record.

                                                       /s/ Jeffrey D. Zeman
                                                       Jeffrey D. Zeman
                                                       FOUNDATION FOR INDIVIDUAL
                                                          RIGHTS AND EXPRESSION




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